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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   IN RE: GENENTECH HERCEPTIN                      )
   (TRASTUZUMAB) MARKETING                         )   MDL DOCKET NO. 16-MD-2700
   AND SALES PRACTICES                             )   ALL CASES
   LITIGATION                                      )

                                CASE MANAGEMENT ORDER # 3

          The Court enters the following amended deadlines for Phase 1:

   Interim Production Deadlines:

          Plaintiffs’ First Priority Custodians;
          Complaints Database; and
          Herceptin Annual Reports                          12/15/17

          Plaintiffs’ Second Priority Custodians;
          Information Requests Database; and
          Certificates of Analysis                          1/22/18

          Plaintiffs’ Third Priority Custodians             3/23/18

   Scheduling Order Deadlines:

          Genentech’s Production Deadline                   3/23/18

          Phase I Discovery Cut-off                         4/23/18

          Plaintiffs Provide Expert Reports                 5/8/18

          Plaintiffs’ MSJ Response Due                      5/22/18

          Genentech’s MSJ Reply Due                         21 days after Plaintiffs’ response brief


          SO ORDERED this 19th day of October, 2017.




                                                           JODIF.JAYNE,MAGISTRATEJUDGE
                                                           UNITEDSTATESDISTRICTCOURT
